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       Before the United States District Court for the Northern District of Ohio
                              Eastern Division at Akron

Cynderila Patrick                       )
                                        ) Case No.
                                        )
       Plaintiff                        )
                                        ) Judge Lioi
-vs-                                    )
                                        )
                                        )
Kristi Noem, et al.                     )
                                        )
       Defendants                       )
                                        )

               NOTICE OF DISMISSAL OF THE YSU DEFENDANTS

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff

Cynderila Patrick, by and through undersigned counsel, hereby voluntarily dismisses

without prejudice Defendants John Does 6–10, Jane Does 6–10, and/or Entity Does 6–

10, who are associated with Youngstown State University, from the above-captioned

action.

       This notice of dismissal is filed before service of an answer or motion for

summary judgment by the YSU Defendants.

                                      Respectfully Submitted,

                                      s/ Rhys Cartwright-Jones
                                      Rhys Brendan Cartwright-Jones, 0078597
                                      42 North Phelps St.
                                      Youngstown, OH 44503-1130
                                      330-744-6454, tel.
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                                      For the Defense
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                                   Proof of Service

      I caused to be delivered a copy of the foregoing to opposing counsel, all of whom
receive service by way of this Court’s ECF application, contemporaneous w/ filing.

                                      s/ Rhys Cartwright-Jones
                                      Rhys Brendan Cartwright-Jones, 0078597




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